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8                         UNITED STATES DISTRICT COURT
9                        EASTERN DISTRICT OF CALIFORNIA
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12   UNITED STATES OF AMERICA,           NO. CR-99-433-01 WBS
13                 Plaintiff,            ORDER
14       v.
15   JOHN THAT LUONG,
16                   Defendant.
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19             On April 29, 2015, the Ninth Circuit Court of Appeals

20   affirmed defendant John That Luong’s conviction, partially

21   vacated his sentences under 18 U.S.C. § 924(c), and remanded for

22   resentencing.     (Docket No. 1623.)1   The Ninth Circuit vacated

23   defendant’s conviction and sentence on Count 2.        (Id. at 6.)   It

24   also vacated the sentence on Count 5 and instructed the court to

25   resentence defendant to five years’ imprisonment on that count.

26   (Id. at 6.)     On September 1, 2015, the parties submitted a

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               The mandate issued on July 20, 2015.        (Docket No.
28   1624.)

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1    stipulation and proposed order for the amended sentence in

2    accordance with the Ninth Circuit’s decision.        (Docket No. 1630.)

3                On October 27, 2015, defendant’s appointed counsel

4    moved to withdraw at defendant’s request based on a conflict.

5    (Docket No. 1633.)    The court granted the motion and ordered that

6    defendant be brought before the court for his resentencing.

7    (Docket No. 1635.)    Counsel’s motion was also filed and granted

8    in the Ninth Circuit.    Defendant, proceeding pro se, now moves to

9    waive his appearance and allocution at resentencing before this

10   court.   (Docket No. 1636.)

11               “The Sixth Amendment secures to a defendant who faces

12   incarceration the right to counsel at all ‘critical stages’ of

13   the criminal process.”    Iowa v. Tovar, 541 U.S. 77, 87 (2004).

14   “It has long been understood that sentencing is a ‘critical

15   stage’ at which a defendant is entitled to counsel.”         United

16   States v. Yamashiro, 788 F.3d 1231, 1235 (9th Cir. 2015); see

17   also Mempa v. Rhay, 389 U.S. 128, 136-37 (1967) (holding that a

18   deferred sentencing hearing is a critical stage despite the

19   limited discretion afforded the sentencing judge).         “[T]he

20   absence of counsel during a critical stage of a criminal
21   proceeding is precisely the type of ‘structural defect’ to which

22   no harmless-error analysis can be applied.”        United States v.

23   Hamilton, 391 F.3d 1066, 1070 (9th Cir. 2004).

24               “Once a defendant makes an unequivocal request to

25   proceed pro se, the court must hold a hearing--commonly known as

26   a Faretta hearing--to determine whether the defendant is
27   knowingly and intelligently forgoing his right to appointed

28   counsel.”   United States v. Farias, 618 F.3d 1049, 1051–52 (9th
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1    Cir. 2010).     “In order to deem a defendant’s Faretta waiver

2    knowing and intelligent, the district court must insure that he

3    understands 1) the nature of the charges against him, 2) the

4    possible penalties, and 3) the ‘dangers and disadvantages of

5    self-representation.’”    United States v. Erskine, 355 F.3d 1161,

6    1167 (9th Cir. 2004) (citation omitted).       “This is best

7    accomplished by the trial court conducting a discussion with the

8    defendant, in open court and on the record, of the critical

9    elements and risks of self-representation.”        McCormick v. Adams,

10   621 F.3d 970, 976-77 (9th Cir. 2010).       “It is an unusual case

11   where, absent such a colloquy, a knowing and intelligent waiver

12   of counsel will be found.”     United States v. Rylander, 714 F.2d

13   996, 1005 (9th Cir. 1983).

14             Defendant has attached a one-paragraph affidavit to his

15   motion simply stating that he does not “wish to appear in person”

16   for resentencing.    Given that defendant has been represented by

17   two different attorneys during the course of these proceedings,

18   the court is reluctant to say with certainty that defendant has

19   knowingly and voluntarily waived his right to counsel at

20   resentencing.    Therefore, before resentencing, the court will
21   conduct the appropriate inquiry to ensure that defendant is “made

22   aware of the dangers and disadvantages of self-representation, so

23   that the record will establish that he knows what he is doing and

24   his choice is made with eyes open.”       Faretta v. California, 422

25   U.S. 806, 835 (1975); see Patterson v. Illinois, 487 U.S. 285,

26   298-300 (1988) (“[W]e have imposed the most rigorous restrictions
27   on the information that must be conveyed to a defendant, and the

28   procedures that must be observed, before permitting him to waive
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1    his right to counsel.”)       “It is the solemn duty of a federal

2    judge before whom a defendant appears without counsel to make a

3    thorough inquiry and to take all steps necessary to insure the

4    fullest protection of this constitutional right at every stage of

5    the proceedings.”    Von Moltke v. Gillies, 332 U.S. 708, 722

6    (1948).

7               IT IS THEREFORE ORDERED that defendant’s motion to

8    waive his appearance and allocution at resentencing be, and the

9    same hereby is, DENIED.

10              The United States Attorney shall make the necessary

11   arrangements for defendant to be brought to court for

12   resentencing, in accordance with this Order.

13              IT IS SO ORDERED.

14   Dated:    November 12, 2015

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